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                                                                          2
                                                                          3
                                                                          4Entered on Docket
                                                                           June 06, 2019
                                                                       ___________________________________________________________________
                                                                          5
                                                                          6   Jeanette E. McPherson, Esq., NV Bar No. 5423
                                                                              Schwartzer & McPherson Law Firm
                                                                          7   2850 South Jones Blvd., Suite 1
                                                                              Las Vegas NV 89146-5308
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                                                                         10   Counsel for Shelley D. Krohn, Trustee
SCHWARTZER & MCPHERSON LAW FIRM




                                                                         11                                         UNITED STATES BANKRUPTCY COURT
                                                                         12                                                        DISTRICT OF NEVADA
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                             2850 South Jones Boulevard, Suite 1




                                                                         13   In re:                                                                Case No. BK-S-18-13604-abl
                                Las Vegas, Nevada 89146-5308




                                                                         14   DOMINIC JOSEPH MAGLIARDITI,                                           Chapter 7
                                                                         15                                                          Debtor(s). ORDER APPROVING STIPULATION
                                                                                                                                                CONTINUING HEARING ON TRUSTEE’S
                                                                         16                                                                     MOTION TO SELL CAUSES OF ACTION
                                                                         17                                                                     FREE AND CLEAR OF ALL CLAIMS,
                                                                                                                                                ENCUMBRANCES, AND INTERESTS
                                                                         18
                                                                                                                                                    Old Hearing Date: June 12, 2019
                                                                         19                                                                         Old Hearing Time: 9:30 a.m.

                                                                         20                                                                         New Hearing Date: July 3, 2019
                                                                                                                                                    New Hearing Time: 9:30 a.m.
                                                                         21
                                                                         22               The Court having reviewed the Stipulation Continuing Hearing On Trustee’s Motion To
                                                                         23   Sell Causes Of Action Free And Clear Of All Claims, Encumbrances, And Interests
                                                                         24   (“Stipulation”) 1 entered into by Shelley D. Krohn, Chapter 7 Trustee (the “Trustee”), by and
                                                                         25   through her counsel Schwartzer & McPherson Law Firm, Transfirst Group, Inc. f/k/a Transfirst
                                                                         26   Holdings, Inc., Transfirst Third Party Sales LLC f/k/a Transfirst Merchant Services, Inc., and
                                                                         27
                                                                         28   1
                                                                                  All capitalized terms have the meanings ascribed them in the underlying Stipulation.



                                                                              Order re Stipulation re Continuing Motion sell causes of action.doc                                 Page 1 of 2
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                                                                        1   Payment Resources International, LLC, by and through its counsel Reese Marketos LLP, Francine
                                                                        2   Magliarditi, by and through her counsel Cook & Kelesis, Ltd., and Dominic Joseph Magliarditi, by
                                                                        3   and through his counsel Larson Zirzow & Kaplan, LLC (collectively, the “Parties”), and good
                                                                        4   cause appearing, it is hereby
                                                                        5              ORDERED that the Stipulation is granted; and it is further
                                                                        6              ORDERED that the hearing on the Trustee’s Motion To Sell Causes Of Action Free And
                                                                        7   Clear Of All Claims, Encumbrances, And Interests currently set for June 12, 2019 at 9:30 a.m. is
                                                                        8   hereby continued to July 3, 2019 at 9:30 a.m.; and it is further
                                                                        9              ORDERED that the continuance of the hearing on the Motion from June 12, 2019 to July
                                                                       10   3, 2019 shall also extend the Auction and Bidding Procedures requested on pages 4 and 5 of the
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                                                                       11   Trustee’s Motion, including without limitation that the Auction shall be continued to the new
                                                                       12   hearing date, and also that the deadline for an Overbidder to tender the following items shall be
                           Tel: (702) 228-7590 · Fax: (702) 892-0122
                             2850 South Jones Boulevard, Suite 1




                                                                       13   extended to July 2, 2019, being the day prior to the new hearing/Auction date: (a) a cashier’s
                                Las Vegas, Nevada 89146-5308




                                                                       14   check of $7,000.00 as a deposit in order to bid, and (b) verifiable evidence of the financial ability
                                                                       15   to close; and it is further
                                                                       16              ORDERED that nothing in the Stipulation or herein is intended or should be construed as
                                                                       17   waiving any arguments or objections Francine Magliarditi raised in her limited Opposition to the
                                                                       18   Motion [ECF No. 62]; and it is further
                                                                       19              ORDERED that the deadline to file a reply to any opposition to the Motion shall be
                                                                       20   extended up to and including June 27, 2019.
                                                                       21   Submitted by:
                                                                       22   SCHWARTZER & MCPHERSON LAW FIRM
                                                                       23   /s/ Jeanette E. McPherson                                             .
                                                                            Jeanette E. McPherson, Esq.
                                                                       24   2850 South Jones Boulevard, Suite 1
                                                                            Las Vegas, Nevada 89146
                                                                       25
                                                                            Attorneys for Shelley D. Krohn, Trustee
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                                                                            Order re Stipulation re Continuing Motion sell causes of action.doc                            Page 2 of 2
